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 1   Harvey W. Wimer III, SBN 166326
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 2
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 3   bcoughlin@gravesandking.com
     GRAVES & KING LLP
 4
     Attorneys at Law
 5   2280 Market Street, Suite 320, Riverside, California 92501
     DIRECT ALL MAIL TO:
 6
     Post Office Box 1270, Riverside, California 92502
 7   Tel: (951) 680-0100
 8   Attorneys for Defendants,
     CITY OF DESERT HOT SPRINGS, erroneously sued as CITY OF DESERT HOT
 9   SPRINGS, CALIFORNIA, a municipal corporation; and TUAN-ANH VU, erroneously
10   sued as TUAN ANH VU an individual, in his investigative and administrative capacity

11                    UNITED STATES DISTRICT COURT FOR THE
12                         CENTRAL DISTRICT OF CALIFORNIA
13
14   JOSEPH MINER, an individual,              Case No. 8:24-cv-02793-MCS-E
                                               Related Case No: 8:22-cv-01043-CAS-MAA
15                      Plaintiff,
16         v.                                  REQUEST FOR JUDICIAL NOTICE IN
                                               SUPPORT OF MOTION TO DISMISS TO
17   CITY OF DESERT HOT SPRINGS,               PLAINTIFF’S FIRST AMENDED
18   CALIFORNIA, a municipal                   COMPLAINT; DECLARATION OF
     corporation; TUAN ANH VU, an              BRENDAN J. COUGHLIN IN SUPPORT
19   individual, in his investigative and      OF REQUEST FOR JUDICIAL NOTICE;
20   administrative capacity; PRESIDING        (PROPOSED) ORDER
     JUDGE RIVERSIDE COUNTY
21   SUPERIOR COURT, Judith Clark in          Date:                April 21, 2025
22   her official, executive and              Time:                9:00 a.m.
     administrative capacity; CHIEF           Courtroom:           7C
23   EXECUTIVE OFFICER RIVERSIDE
24   COUNTY SUPERIOR COURT, Jason
     Galkin, in his official, executive and
25   administrative capacity; DOE             Complaint Filed:     December 23, 2024
26   DEFENDANTS 1-20,                         Assigned To:         Hon. Mark C. Scarsi
                           Defendants.
27
28
                                                 1
      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED
                                             COMPLAINT
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 1            Defendants, TUAN-ANH VU (“Individual Defendant”), and CITY OF DESERT
 2   HOT SPRINGS, (the “City”) (collectively the “Defendants”), hereby request that the
 3   Court, in considering the Defendants’ Motion to Dismiss to the First Amended Complaint
 4   of Plaintiff, JOSEPH MINER, take judicial notice of the following matters, pursuant to
 5   Federal Rule of Evidence 201:
 6         1) The case report of Plaintiff’s state court matter filed on December 6, 2021, in
 7            Superior Court, County of Riverside, entitled Joseph Miner v. City of Desert Hot
 8            Springs, Case No. CVPS2106001, a true and correct copy of which is attached hereto
 9            as Exhibit 1.
10         2) The October 20, 2022, Judgment of Dismissal in Joseph Miner v. City of Desert Hot
11            Springs, Superior Court, County of Riverside – Case No. CVPS2106001, a true and
12            correct copy of which is attached hereto as Exhibit 2.
13         3) The December 7, 2022, Declaration by Plaintiff/Petitioner Joseph Miner filed in the
14            Appellate Division of the Superior Court, County of Riverside, entitled Joseph
15            Miner v. City of Desert Hot Springs, Case Nos. APRI2200098 and APRI2200109, a
16            true and correct copy of which is attached hereto as Exhibit 3.
17         4) The Notice of Appeal of Civil Citation #27948D in Plaintiff’s state court matter filed
18            on December 6, 2021, in Superior Court, County of Riverside, entitled Joseph Miner
19            v. City of Desert Hot Springs, Case No. CVPS2106001, a true and correct copy of
20            which is attached hereto as Exhibit 4.
21         5) The Second Amended Complaint, the operative complaint in United States District
22            Court for Case No. 8:22-cv-01043-CAS-MAA, a true and correct copy of which is
23            attached hereto as Exhibit 5.
24         6) The March 27, 2023, Civil Minute Order in Plaintiff’s federal court matter filed in
25            the United States District Court, Central District of California, entitled Joseph Miner
26            v. City of Desert Hot Springs, Case No. 8:22-cv-01043-CAS-MAA, a true and
27            correct copy of which is attached hereto as Exhibit 6.
28   ///

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       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED
                                              COMPLAINT
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 1      7) The November 13, 2023, Remittitur and Per Curiam Opinion issued in the Appellate
 2          Division of the Superior Court, County of Riverside, entitled Joseph Miner v. City
 3          of Desert Hot Springs, Case No. APRI2300007, a true and correct copy of which is
 4          attached hereto as Exhibit 7.
 5      8) The November 9, 2023, Remittitur and Per Curiam Opinion issued in the Appellate
 6          Division of the Superior Court, County of Riverside, entitled, Joseph Miner v. City
 7          of Desert Hot Springs, Case Nos. APRI2200098 and APRI2200109, a true and
 8          correct copy of which is attached hereto as Exhibit 8.
 9          Rule 201(b) states: “The court may judicially notice a fact that is not subject to
10   reasonable dispute because it: (1) is generally known within the trial court’s territorial
11   jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy
12   cannot reasonably be questioned.” The Advisory Committee Notes discuss Rule 201 in
13   detail, stating:
14          This rule is consistent with Uniform Rule 9(1) and (2) which limit judicial
            notice of facts to those “so universally known that they cannot reasonably be
15
            the subject of dispute,” those “so generally known or of such common
16          notoriety within the territorial jurisdiction of the court that they cannot
            reasonably be the subject of dispute,” and those “capable of immediate and
17
            accurate determination by resort to easily accessible sources of indisputable
18          accuracy.” The traditional textbook treatment has included these general
            categories (matters of common knowledge, facts capable of verification),
19
            [Citation] and then has passed on into detailed treatment of such specific
20          topics as facts relating to the personnel and records of the court, [Citation] and
21          other governmental facts.

22   Fed. R. Evid. 201.
23          Although a district court generally may not consider any material beyond the
24          pleadings in ruling on a Rule 12(b)(6) motion, the Court may take judicial
            notice of documents referenced in the complaint, as well as matters in the
25          public record, without converting a motion to dismiss into one for summary
26          judgment. [Citation.] In addition, the Court may take judicial notice of
            matters that are either “generally known within the trial court's territorial
27          jurisdiction” or “can be accurately and readily determined from sources
28          whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b).

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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED
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 1           Public records, including judgments and other court documents, are proper
             subjects of judicial notice.
 2
 3   Bay Area Surgical Mgmt. LLC v. Aetna Life Ins. Co., 166 F.Supp.3d 988, 993 (N.D. Cal.
 4   2015). Rule 201 permits courts to take judicial notice of “matters of public record,” as
 5   long as the facts are “not subject to reasonable dispute.” Intri-Plex Techs., Inc. v. Crest
 6   Group Inc., 499 F.3d 1048, 1052 (9th Cir. 2007), internal citations and quotations omitted.
 7           “Courts can take judicial notice of pleadings and court orders that are matters of
 8   public record.” MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986). For
 9   instance, in Kent v. DaimlerChrysler Corp., 200 F.Supp.2d 1208 (N.D. Cal. 2002), the
10   court concluded it could take judicial notice of legal decisions and a legal memorandum
11   filed in state court action that were of public record.
12           These authorities provide that this Court shall take judicial notice of filings in
13   Plaintiff’s state and federal court actions that are relevant to this matter. As discussed in
14   the Motion to Dismiss’ Memorandum of Points and Authorities, Plaintiff had two aappeals
15   in the state court’s appellate division based on the civil citations at issue in the current
16   federal matter, as well as another federal case, United States District Court for Case No.
17   8:22-cv-01043-CAS-MAA.
18           Defendants, TUAN ANH-VU and CITY OF DESERT HOT SPRINGS, therefore
19   request that the Court, in considering the Defendants’ Motion to Dismiss the First
20   Amended Complaint of Plaintiff, JOSEPH MINER, take judicial notice of the Plaintiff’s
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       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED
                                              COMPLAINT
        Case 8:24-cv-02793-CAS-E         Document 12 Filed 03/12/25           Page 5 of 11 Page ID
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 1   related and duplicative federal and state court actions.
 2
 3   DATED: March 12, 2025                              GRAVES & KING LLP
 4
 5
                                                  BY:         /s/
 6                                                      BRENDAN J. COUGHLIN
                                                        Attorneys for Defendants
 7
                                                        TUAN ANH-VU and
 8                                                      CITY OF DESERT HOT SPRINGS
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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED
                                             COMPLAINT
           Case 8:24-cv-02793-CAS-E    Document 12 Filed 03/12/25       Page 6 of 11 Page ID
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 1                      DECLARATION OF BRENDAN J. COUGHLIN
 2   I, Brendan J. Coughlin, declare and state as follows:
 3           1.    I am an attorney duly licensed to practice law in the State of California and
 4   the United States of America – Central District Court of California. I am a member of the
 5   firm of Graves & King LLP, attorneys of record for Defendants, TUAN-ANH VU and
 6   CITY OF DESERT HOT SPRINGS (the “DEFENDANTS”) in this case. The following
 7   is based upon my personal knowledge, and if called upon to testify thereto, I could and
 8   would competently do so.
 9           2.    Attached to this Request for Judicial Notice in Support of the
10   DEFENDANTS’ Motion to Dismiss Plaintiff’s First Amended Complaint as Exhibit 1 is
11   a true and correct copy of the case report of Plaintiff’s state court matter filed on December
12   6, 2021, in Superior Court, County of Riverside, entitled Joseph Miner v. City of Desert
13   Hot Springs, Case No. CVPS2106001.
14           3.    Attached to this Request for Judicial Notice in Support of the
15   DEFENDANTS’ Motion to Dismiss Plaintiff’s First Amended Complaint as Exhibit 2 is
16   a true and correct copy of the October 20, 2022, Judgment of Dismissal in Joseph Miner v.
17   City of Desert Hot Springs, Superior Court, County of Riverside, Case No. CVPS2106001.
18           4.    Attached to this Request for Judicial Notice in Support of the
19   DEFENDANTS’ Motion to Dismiss Plaintiff’s First Amended Complaint as Exhibit 3 is
20   a true and correct copy of the declaration filed in the Appellate Division of Superior Court,
21   County of Riverside, entitled Joseph Miner v. Riverside Superior Court, Case Nos.
22   APRI2200090 and APRI2200109.
23           5.    Attached to this Request for Judicial Notice in Support of DEFENDANTS’
24   Motion to Dismiss Plaintiff’s First Amended Complaint as Exhibit 4 is a true and correct
25   copy of the Notice of Appeal of Civil Citation #27948D in Plaintiff’s state court matter
26   filed on December 6, 2021, in Superior Court, County of Riverside, entitled Joseph Miner
27   v. City of Desert Hot Springs, Case No. CVPS2106001.
28   ///
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       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED
                                              COMPLAINT
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 1         6.     Attached to this Request for Judicial Notice in Support of the
 2   DEFENDANTS’ Motion to Dismiss Plaintiff’s First Amended Complaint as Exhibit 5 is
 3   a true and correct copy of the Notice of Appeal of Civil Citation #27948D in Plaintiff’s
 4   state court matter, entitled Joseph Miner v. City of Desert Hot Springs, Case No.
 5   APRI2200098.
 6         7.     Attached to this Request for Judicial Notice in Support of the
 7   DEFENDANTS’ Motion to Dismiss Plaintiff’s First Amended Complaint as Exhibit 6 is
 8   a true and correct copy of case report of the Civil Minute Order issued in Plaintiff’s federal
 9   court matter filed in the United States District Court, Central District of California, entitled
10   Joseph Miner v. City of Desert Hot Springs, Case No. 8:22-cv-01043-CAS-MAA.
11         8.     Attached to this Request for Judicial Notice in Support of the
12   DEFENDANTS’ Motion to Dismiss Plaintiff’s First Amended Complaint as Exhibit 7 is
13   a true and correct copy of the November 13, 2023, Remittitur issued in the Appellate
14   Division of the Superior Court, County of Riverside, entitled Joseph Miner v. City of
15   Desert Hot Springs, Case No. APRI2300007.
16         9.     Attached to this Request for Judicial Notice in Support of the
17   DEFENDANTS’ Motion to Dismiss Plaintiff’s Second Amended Complaint as Exhibit 8
18   is a true and correct copy of the November 9, 2023, Remittitur issued in the Appellate
19   Division of the Superior Court, County of Riverside, entitled, Joseph Miner v. City of
20   Desert Hot Springs, Case Nos. APRI2200098 and APRI2200109.
21         I declare under penalty of perjury under the laws of the State of California and the
22   United States of America that the foregoing is true and correct.
23         Executed on March 12, 2025, at Riverside, California.
24
25                                                       /s/
                                                    BRENDAN J. COUGHLIN
26
                                                    Declarant
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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED
                                             COMPLAINT
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 1            (PROPOSED ORDER) ON REQUEST FOR JUDICIAL NOTICE
 2         On April 21, 2025, the Court heard the Request for Judicial Notice filed by the
 3   Defendants, TUAN-ANH VU (“Individual Defendant”), and CITY OF DESERT HOT
 4   SPRINGS, (the “City”) (collectively the “Defendants”), in support of the Defendants’
 5   Motion to Dismiss Plaintiff’s First Amended Complaint. After considering the moving,
 6   opposition and reply papers, the oral argument of the parties, and all other matters
 7   presented to the Court and of which the Court may take notice,
 8         GOOD CAUSE APPEARING, IT IS HEREBY ORDERED BY THE COURT AS
 9   FOLLOWS:
10     REQUEST FOR JUDICIAL                                   RULING
11               NOTICE
12    Exhibit 1 is a true and correct □ Request for Judicial Notice DENIED
13    copy of the case report of
      Plaintiff’s state court matter filed □ Request for Judicial Notice GRANTED
14    on December 6, 2021, in
15    Superior Court, County of
      Riverside, entitled Joseph Miner
16    v. City of Desert Hot Springs,
17    Case No. CVPS2106001.

18    Exhibit 2 is a true and correct □ Request for Judicial Notice DENIED
19    copy of the October 20, 2022,
      Judgment of Dismissal in Joseph □ Request for Judicial Notice GRANTED
20    Miner v. City of Desert Hot
21    Springs, Superior Court, County
      of   Riverside,    Case     No.
22    CVPS2106001.
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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED
                                             COMPLAINT
      Case 8:24-cv-02793-CAS-E          Document 12 Filed 03/12/25   Page 9 of 11 Page ID
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 1   Exhibit 3 is a true and correct □ Request for Judicial Notice DENIED
     copy of the December 7, 2022,
 2
     Declaration                    by □ Request for Judicial Notice GRANTED
 3   Plaintiff/Petitioner Joseph Miner
     filed in the Appellate Division of
 4
     the Superior Court, County of
 5   Riverside, entitled Joseph Miner
 6   v. City of Desert Hot Springs,
     Case Nos. APRI2200098 and
 7   APRI2200109.
 8
     Exhibit 4 is a true and correct □ Request for Judicial Notice DENIED
 9   copy of the Notice of Appeal of
     Civil Citation #27948D in □ Request for Judicial Notice GRANTED
10
     Plaintiff’s state court matter filed
11   on December 6, 2021, in
     Superior Court, County of
12
     Riverside, entitled Joseph Miner
13   v. City of Desert Hot Springs,
     Case No. CVPS2106001.
14
15   Exhibit 5 is a true and correct       □ Request for Judicial Notice DENIED
     copy of the Plaintiff’s Second
16
     Amended Complaint filed on            □ Request for Judicial Notice GRANTED
17   December 19, 2022, in
     Plaintiff’s federal court matter
18
     filed in the United States
19   District Court, Central District
     of California, entitled Joseph
20
     Miner v. City of Desert Hot
21   Springs, Case No. 8:22-cv-
     01043-CAS-MAA.
22
23   Exhibit 6 is a true and correct □ Request for Judicial Notice DENIED
     copy of the March 27, 2023,
24
     Civil Minute Order in Plaintiff’s □ Request for Judicial Notice GRANTED
25   federal court matter filed in the
26   United States District Court,
     Central District of California,
27   entitled Joseph Miner v. City of
28   Desert Hot Springs, Case No.
     8:22-cv-01043-CAS-MAA.
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     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED
                                            COMPLAINT
       Case 8:24-cv-02793-CAS-E      Document 12 Filed 03/12/25      Page 10 of 11 Page ID
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 2
 3    Exhibit 7 is a true and correct    □ Request for Judicial Notice DENIED
      copy of the November 13, 2023,
 4    Remittitur issued in the           □ Request for Judicial Notice GRANTED
 5    Appellate Division of the
      Superior Court, County of
 6    Riverside, entitled Joseph Miner
 7    v. City of Desert Hot Springs,
      Case No. APRI2300007.
 8    Exhibit 8 is a true and correct    □ Request for Judicial Notice DENIED
 9    copy of the November 9, 2023,
      Remittitur issued in the           □ Request for Judicial Notice GRANTED
10
      Appellate Division of the
11    Superior Court, County of
      Riverside, entitled, Joseph
12
      Miner v. City of Desert Hot
13    Springs,         Case       Nos.
      APRI2200098                  and
14
      APRI2200109.
15
16
17   Dated: ____________________           By:____________________________
18                                            Hon. Mark C. Scarsi, District Judge

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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S FIRST AMENDED
                                             COMPLAINT
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on March 12, 2025, I electronically filed the foregoing
 3   REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
 4   PLAINTIFF’S FIRST AMENDED COMPLAINT; DECLARATION OF BRENDAN
 5   J. COUGHLIN IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE;
 6   (PROPOSED) ORDER, with the Clerk of the Court using the CM/ECF system which will
 7   send notification of such filing to the ECF registrants at the email addresses indicated on
 8   the attached below:
 9    Joseph Miner
      P.O. Box 11650
10
      Costa Mesa, CA 92627
11    Telephone: (949) 903-5051
      Email: josephminer@gmail.com
12
      In Pro Se, JOSEPH MINER
13
14         I certify under penalty of perjury under the laws of the United States of
15   America that the foregoing is true and correct.
16         Executed on March 12, 2025, at Riverside, California.
17                                                      /s/
18                                                Caroline M. Lyons
                                                  GRAVES & KING LLP
19                                                2280 Market Street, Suite 320
20                                                Riverside, California 92501
                                                  (951) 680-0100
21                                                clyons@gravesandking.com
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     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS TO PLAINTIFF’S SECOND AMENDED
                                             COMPLAINT
